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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Strike 3 Holdings, LLC,                                       Civil No. 18-771 (DWF/HB)

                    Plaintiff,

v.                                                            ORDER FOR DISMISSAL
                                                               WITHOUT PREJUDICE
John Doe, subscriber assigned IP address
24.118.222.86,

                    Defendant.


      Based upon the Plaintiff's Notice of Voluntary Dismissal Without Prejudice of

John Doe filed on August 14, 2018, (Doc. No. [18]),

      IT IS HEREBY ORDERED that this action is DISMISSED WITHOUT

PREJUDICE and without costs or disbursements to any party.

Dated: September 4, 2018                   s/Donovan W. Frank
                                           DONOVAN W. FRANK
                                           United States District Judge
